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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 KEYONA CAMPBELL,

       Plaintiff,                               No. 23-cv-02799

              v.                                Judge John F. Kness

 EDWARD-ELMHURST HEALTH, NS
 EE HOLDINGS, NORTHSHORE
 EDWARD-ELMHURST
 HEALTHCARE, JAY ROBERT
 PRITZKER in his official capacity as
 Governor of the State of Illinois, and
 KWAME RAOUL in his official
 capacity as Illinois Attorney General,

       Defendants.



                    MEMORANDUM OPINION AND ORDER

      Plaintiff Keyona Campbell sued Defendants Edward-Elmhurst Health (“EH”),

NS EE Holdings, Northshore Edward-Elmhurst Healthcare (collectively, “EE

Defendants”), Illinois Governor Jay Robert Pritzker in his official capacity, and

Illinois Attorney General Kwame Raoul in his official capacity (together, “State

Defendants”), alleging that the EE Defendants deprived Plaintiff of an employment

opportunity through enforcement of their COVID-19 vaccine mandate and that the

Illinois state law allowing such mandates is illegal. (See generally Dkt. 74.) This Court

previously dismissed Plaintiff’s complaint for lack of standing but gave Plaintiff leave

to file another amended complaint. (Dkt. 72.) After Plaintiff filed her second amended
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complaint, all Defendants once again moved to dismiss (see Dkt. 77, 80), arguing,

among other things, that Plaintiff lacked standing to bring this suit. (See generally

Dkts. 77, 80.)

        As explained below, the Court agrees that Plaintiff has not established that

she has standing to bring this suit. Plaintiff’s desire to avoid reapplying for a religious

exemption, ongoing underemployment, and fears of future employers requiring

vaccination or imposing other COVID-19 mitigation measures do not, and cannot,

give rise to standing because they are not injuries in fact. As a result, the Court lacks

jurisdiction, and the case must be dismissed.

I.      BACKGROUND

        Plaintiff secured an employment opportunity with EH. (Dkt. 20 ¶ 16.) At the

time, EH required that employees be vaccinated against COVID-19, but EH provided

a procedure for employees to seek a religious exemption from the mandate. (Id. ¶ 17.)

Plaintiff sought a religious exemption, and EH denied that request. (Id. ¶ 20.)

Plaintiff appealed the denial, and EH approved the exemption with the additional

requirements that Plaintiff undergo weekly COVID-19 testing and reapply for a

religious exemption after three months. (Id. ¶¶ 20–21.) Plaintiff did not take the job.

(See id. at ¶ 29.)

        Plaintiff sued the EH Defendants and the State Defendants, alleging in her

second amended complaint that (1) the initial denial of her religious exemption

request and the temporariness of the approval on appeal constituted religious

discrimination by the EH Defendants; and (2) Section 13.5 of the Health Care Right




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of Conscience Act, 745 ILCS 70, which declared that employers’ actions “intended to

prevent contraction or transmission of COVID-19” did not violate that Act, violated

the Illinois Constitution, United States Constitution, and Illinois, federal, and

international law. (See generally Dkt. 74.) EH Defendants move to dismiss (Dkt. 77),

as do the State Defendants (Dkt. 80).

II.      LEGAL STANDARD

         A.    Motion to Dismiss

         A motion under Rule 12(b)(1) challenges the Court’s subject matter jurisdiction

over a case. Motions to dismiss for lack of subject matter jurisdiction under Rule

12(b)(1) “are meant to test the sufficiency of the complaint, not to decide the merits

of the case.” Ctr. For Dermatology & Skin Cancer Ltd. v. Burwell, 770 F.3d 586, 588

(7th Cir. 2014). When considering a Rule 12(b)(1) motion, the Court accepts as true

all well-pleaded factual allegations and draws all reasonable inferences in favor of

the plaintiff. Id. But the plaintiff bears the burden of proving that the jurisdictional

requirements have been met. Id.

         A motion under Rule 12(b)(6) “challenges the sufficiency of the complaint to

state a claim upon which relief may be granted.” Hallinan v. Fraternal Ord. of Police

of Chi. Lodge No. 7, 570 F.3d 811, 820 (7th Cir. 2009). Each complaint “must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). These allegations “must be enough to raise a

right to relief above the speculative level.” Twombly, 550 U.S. at 555. Put another




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way, the complaint must present a “short, plain, and plausible factual narrative that

conveys a story that holds together.” Kaminski v. Elite Staffing, Inc., 23 F.4th 774,

777 (7th Cir. 2022) (cleaned up). In evaluating a motion to dismiss, the Court must

accept as true the complaint’s factual allegations and draw reasonable inferences in

the plaintiff’s favor. Iqbal, 556 U.S. at 678. But even though factual allegations are

entitled to the assumption of truth, mere legal conclusions are not. Id. at 678–79.

       B.     Standing

       As the Supreme Court has instructed, “the irreducible constitutional minimum

of standing contains three elements:” (1) an “injury in fact” that is both “concrete and

particularized” and “actual or imminent”; (2) a “causal connection between the injury

and the conduct complained of”; and (3) a likelihood “that the injury will be redressed

by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992)

(cleaned up). Adherence to the doctrine of standing ensures that “federal courts

exercise their proper function in a limited and separated government.” TransUnion

LLC v. Ramirez, 594 U.S. 413, 423 (2021) (quotations omitted). Establishing standing

is the plaintiff’s burden. Id. at 431.

III.   DISCUSSION

       Plaintiff’s second amended complaint (Dkt. 74) is largely duplicative of her first

amended complaint (Dkt. 20), with the exception of a new section entitled “Standing.”

(See Dkt. 74 at 2–12.) In this new section, Plaintiff makes an assortment of

arguments in an attempt to establish standing. None is availing.




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      Plaintiff first claims that she is suffering an ongoing injury because of her

continued underemployment. (Id. at 3.) But these circumstances are a direct result of

Plaintiff declining the job at EH despite being granted a religious exception to the

vaccine mandate. This sort of self-inflicted harm motivated by fears of a future denial

of a religious exemption cannot establish standing. See Clapper v. Amnesty Int’l USA,

568 U.S. 398, 416 (2013); Savel v. MetroHealth System, 96 F.4th 932, 940 (6th Cir.

2024). Although Plaintiff would have been required to reapply for a religious

exemption in the future had she taken the job at EH, this does not constitute an injury

in fact, particularly when Plaintiff had already initially been granted an exemption.

See Savel, 96 F.4th at 940. Plaintiff’s fear that a religious exemption will be denied

in the future is “contingent on future events that may never come to pass, which is a

much too speculative state of affairs to satisfy the well-established requirement that

threatened injury must be certainly impending.” Id. (internal quotation marks

omitted).

      Plaintiff also suggests that she is experiencing a continual constitutional

injury because there are still jobs that require COVID-19 vaccination. (Dkt. 74 at 3.)

Plaintiff does not outline what these jobs are or whether she has applied for them,

much less whether she has been denied an exemption to a specific vaccination

requirement. (Id.) Generic accusations about requirements that have not personally

impacted Plaintiff assert only a “hypothetical future harm that is not certainly

impending,” which is insufficient for standing. See Clapper, 568 U.S. at 402.




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         At the time Plaintiff was going through the hiring process with EH, Plaintiff

asserts that she was being injured by a “continuous thereat” to her freedoms created

by masking, social distancing, and other requirements aimed at slowing the spread

of COVID-19 that may be imposed again in the future. (Dkt. 74 at 18.) Plaintiff also

asserts that the State Defendants have continuously showed hostility towards those

claiming religious exemptions but not towards those claiming medical exemptions.

(Id.) But the Supreme Court has held that this sort of “generalized grievance,” which

is “shared in substantially equal measure by all or a large class of citizens . . . [,]

normally does not warrant exercise of jurisdiction.” Warth v. Seldin, 422 U.S. 490,

499 (1975).

         At bottom, all of Plaintiff’s attempts to demonstrate standing run up against

Klaassen v. Trustees of Indiana University, where the Seventh Circuit held that those

who, as did Plaintiff, receive a religious exemption to a vaccine mandate lack standing

to challenge that mandate in federal court. See 24 F.4th 638, 639 (7th Cir. 2022) (per

curiam). Klaassen involved eight plaintiffs who objected to receiving the COVID

vaccine; seven of the plaintiffs qualified for a religious exemption. Id. Even though

those plaintiffs had yet to receive the exemption, the Seventh Circuit found that their

mere eligibility for it deprived them of standing, and, as such, only the plaintiff with

no religious objection to the vaccine had standing to challenge the vaccine mandate.

Id.

         In this case, Plaintiff was not only eligible for but received a religious

exemption to EH’s vaccine mandate. Plaintiff’s position is thus even less compelling




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than that of the seven plaintiffs in Klaassen. Plaintiff’s faith-based objection to the

vaccine mandate—and the fact that she received an exemption in the end—precludes

her effort to demonstrate that she has standing in this case.1 Because Plaintiff lacks

standing, her action must be dismissed.

IV.      CONCLUSION

         Defendants’ motions to dismiss (Dkt. 77 and 80) are granted, and the case is

dismissed without leave to amend. See Flynn v. FCA US LLC, 39 F.4th 946, 954 (7th

Cir. 2022) (“When a district court concludes that the plaintiff lacks standing—and

thus that the court lacks jurisdiction—the judge may either dismiss without leave to

amend or dismiss without prejudice.”).


SO ORDERED in No. 23-cv-02799.

Date: December 30, 2024
                                                  JOHN F. KNESS
                                                  United States District Judge




      1 Because Plaintiff does not have standing, this Court does not address the merits of

Plaintiff’s claims, including Count IX (violation of the Establishment Clause). Were this
Court to reach the issue, however, it would evaluate Plaintiff’s claim under the “historical
practices and understandings” standard established by the Supreme Court. See Kennedy v.
Bremerton Sch. Dist., 597 U.S. 507, 534–36 (2022). As the Supreme Court held in 2022, the
Lemon test, on which the State Defendants rely, is no longer viable. See id.; (Dkt. 81 at 16–
18.)


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